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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


 VoiceAge EVS LLC, a Delaware
 limited liability company,

                           Plaintiff,         Case No. 19-cv-01945-CFC

      v.

 HMD Global Oy,

                          Defendant.


  PLAINTIFF’S NOTICE OF DEPOSITION OF VELI-PEKKA VESALA

      PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of

Civil Procedure, Plaintiff VoiceAge EVS LLC, by its counsel, will take a deposition

upon oral examination of Veli-Pekka Vesala as an individual pursuant to Rule

30(b)(1).

      The deposition will commence on March 2, 2023 at 9:00 a.m. (Eastern Time)

at the Law Office of Farnan LLP, 919 N. Market Street, 12th Floor, Wilmington,

Delaware 19801, or at another time and location agreed upon by the parties or

ordered by the Court. The deposition will be recorded by stenographic means, audio

recording, video recording and/or real-time transcription, and will continue day-to-

day, weekends and legal holidays excluded, until completed.


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Dated: January 24, 2023             Respectfully submitted,

                                    /s/ Michael J. Farnan

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